
359 S.W.3d 539 (2012)
George WELLS, Jr., Movant/Appellant,
v.
STATE of Missouri, Respondent/Respondent.
No. ED. 96296.
Missouri Court of Appeals, Eastern District, Division Two.
February 21, 2012.
*540 Timothy Forneris, Assistant Public Defender, St. Louis, MO, for appellant.
Chris Koster, Attorney General, Evan J. Buchheim, Assistant Attorney General, Jefferson City, MO, for respondent.
Before KATHIANNE KNAUP CRANE, P.J., LAWRENCE E. MOONEY, J., and KENNETH M. ROMINES, J.

ORDER
PER CURIAM.
Movant, George Wells, Jr., appeals from the judgment denying on the merits his Rule 29.15 motion for post-conviction relief after an evidentiary hearing. The findings and conclusions of the motion court are based on findings of fact that are not clearly erroneous. No error of law appears. An opinion reciting the detailed facts and restating the principles of law would have no precedential value. However, the parties have been furnished with a memorandum for their information only, setting forth the reasons for this order.
We affirm the judgment pursuant to Rule 84.16(b).
